Case 2:03-cr-20229-BBD Document 48 Filed 04/19/05 Page 1 of 2 Page|D 55

IN THE UNITED STATES DISTRICT COURT

 

FoR THE WESTERN DIsTRICT oF TENNES sEE q; 5 a s;. 1_-5: :.
WESTERN DIvIsIoN
UNITED sTATEs oF AMERICA * n Li'ip:ind'w
*
vs. * CR. NO. 03cr20229-D
914
ALFRED JENKJNS *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On April 18, 2005, Alfred Jenkins appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter The defendant had previously been advised
of his rights under Fed.R.Crirn.P. 5 and 32.1(a), and counsel Was appointed

At this hearing, the Court, after hearing proof, concluded that probable cause Was established
that the defendant had violated the terms and conditions of his supervised release.

Accordingly, defendant Alfred Jenkios is held to a final revocation hearing before United
States District Judge Bernice B. Donald. It is presumed that the District Judge Will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32.] (b),(c), and will see that appropriate notices
are given.

The defendant Was remanded to the custody of the United States Marshals.

IT is so oRDEREDthiS {g er P§@(\ \ ,2005.

 

TU M. PHAl\/I
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket heet` ojmp|ianscg
with nine 55 and/or 32(b) rach on § “ 231 l O

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CR-20229 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

